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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE DIVISION OF UTAH, CENTRAL DIVISION


  COMMODITY FUTURES TRADING
  COMMISSION, and STATE OF UTAH
  DIVISION OF SECURITIES, through
  Attorney General Sean D. Reyes,
               Plaintiffs,                            MOTION OF
  vs.                                         ZIONS BANCORPORATION, N.A.
                                                 FOR TERMINATION OF
  RUST RARE COIN, INC., a Utah               INTERVENTION WITH CONSENT
  corporation and GAYLEN DEAN RUST,
  an individual, DENISE GUNDERSON
  RUST, an individual, JOSHUA DANIEL            Civil No. 2:18-CV-00892-TC
  RUST, an individual,                              Judge Tena Campbell
                 Defendants.
  and

  ALEESHA RUST FRANKLIN, an
  individual, R LEGACY RACING, INC., a
  Utah corporation, R LEGACY
  ENTERTAINMENT, LLC, a Utah limited
  liability company, and R LEGACY
  INVESTMENTS, LLC, a Utah limited
  liability company,
                 Relief Defendants.
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         Zions Bancorporation, N.A. (“Zions Bank”) moves this Court to terminate its prior

 limited intervention (the “Motion”) in this case as the matter of limited intervention has been

 resolved.

                                STATEMENT OF RELIEF SOUGHT

         Zions Bank requests that its prior limited intervention in this case be terminated. The

 Receiver consents to the relief sought.

                                         RELEVANT FACTS

         1.        On November 27, 2018, the Court entered an order appointing Jonathan O. Hafen

 as receiver for the Receivership defendants (“Receivership Order”). See ECF No. 54.

         2.        On February 19, 2019, Zions Bank moved for limited intervention to resolve a

 dispute as to entitlement to funds. See ECF No. 112.

         3.        On March 12, 2019, this Court entered an order granting Zions Bank limited

 intervention for resolution of ownership of the funds. See ECF No. 140.

         4.        After moving and being granted limited intervention, Zions Bank filed its

 Interpleader Motion. See ECF No. 141.

         5.        Based upon litigation between the Receiver and Leland S. Jacobson, individually

 and as Trustee of the Leland S. Jacobson Trust, the Court resolved the issue. See ECF No. 320.

         6.        All matters for which Zions Bank was granted limited intervention have now been

 fully resolved.

         7.        The Plaintiffs and Receiver consent to the termination of the intervention of Zions

 Bank.
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                                          ARGUMENT

        The sole purpose for the limited intervention of Zions Bank was the resolution of

 ownership of the funds which has occurred. Therefore, the limited intervention of Zions Bank

 may now be terminated. The Plaintiffs and Receiver consent.

                                         CONCLUSION

        Wherefore, Zions Bank requests that this Court terminate the limited intervention of

 Zions Bank effective as of the date hereof.

        DATED this 23rd day of June, 2022.


                                               DORSEY & WHITNEY LLP

                                               /s/ Steven T. Waterman
                                               Steven T. Waterman
                                               Attorneys for Zions Bancorporation, N.A.


 Consent of counsel for:
 Jonathan O. Hafen, Receiver
 Parr Brown Gee & Loveless

 /s/ Cynthia D. Love (per email 6/23/2022)
 Cynthia D. Love

 Commodity Futures Trading Commission,
 Plaintiff

 /s/ Monique McElwee (per email 6/23/2022)
 Monique McElwee

 State of Utah, Utah Division of Securities,
 Plaintiff

 /s/ Thomas M. Melton (per email 6/23/2022
 Thomas M. Melton




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                           CERTIFICATE OF SERVICE BY ECF

        I hereby certify that service of the above MOTION OF ZIONS BANCORPORATION,

 N.A. FOR TERMINATION OF INTERVENTION WITH CONSENT was effectuated by this

 Court’s ECF system on this 23rd day of June, 2022.


                                                      /s/ Karen Bingham
                                                      Legal Assistant




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